__-~...._._-..___._.__.___....,..__. .. ____._.,,

|. {a) PLAINT|FFS ( Check box if you are representing yourself |:! )
Unttéd States of Ameri:a ex rel Paut Dailda and Peopie ofState ofCaiifomla ex re1

Paui Dallda

UN|TED STATES DlSTRlCl' COURT, CENTRAL DlSTRlCT OF CAL|FORN|A

(b) County of Resldence of F|rst Listed Plaintlff
(EXCEPT!NU.S. PLA!NTIFF CASES}

(c) Atf‘orneys (Firm Name, Address and Telephone Number) lf you are

representing yourself, provide the same |nformat|on.

.ioseph Tu||y. Tu|ly 81 Welss Attomays at Law. 713 Maln St. Mattinez. CA 94553;

925-229»9700

Brian H Mahany, Mahany Law, 8112 West Biuemound Road, Sulte 101 Wauwatosa,

Wl 53213; 414-258-2375

ClVlL COVER SHEET

DEFENDANTS [Check box |fyou are representhg yourself [:] )

DHS CONSULT|NG, INC.

County of Resldence of First L|sted Defendant Orange
(lN u.s. PLAWnFF cAsEs umw

Attomeys (Firm Name, Address and 'i'elephone Number) if you are
representing yourseif, provide the same information

 

 

ll. BAS|S OF JUR|SD|CT|ON (Place an X |n one box only.)

..1 U ..S Govemment
. Pla|ntiFf

2. U.S. Government
Defendant

m 3. Federa| Question (U. S.
Government Not a Party)

[:| 4. Divers|ty (lndicate C|tizensh|p

of Partles in item iil)

 

 

lV. URIGlN (Piace an X |n one box on|y.)
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Proceeding

Stafe Coi.lt't

Appe|iaha Court

|il. ClTlZENS|-I|l' OF PRINC|PAL PART|ES-Fm D|verslty Casas Oniy
(Piace an X In one boxF for plaintiff and one for defendant) DEF

incorporated or Principai Piace

Cltlzen ofThls sure ET]F 1 |{J:|EF 1 ofmlnm m m gate [°_`|F 4 |:] 4

Citizen of Another State [:] z [] 2 lncorporated and Pdnclpal Piace [:] 5 |:| 5
cf Business |n Another State

Cit|zen or Subject of a

F°re|gn country m 3 L__| 3 Foreign Natlon |:] 6 [] 6

4.ne1nsmed or m sTransfemdrmm mother &'f‘,§§,“f{,'§°,§"_“ m 8' H§‘,L"§{;”n'f‘
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V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes |:| No
CLASS ACT|CN under F.R.Cv.P. 23:

|:|¥es [:] No

(Check "Yes" only if demanded in complaint.)
|:| MONE‘I DEMAN DED lN €OMPLAINT: $

Vl. CAUSE DF ACTION (C|te the U.S. Civil Statute under whlch you are filing and wills a brief statement of cause. Do not drs jurisdictional statutes unless dlverslty.)
31 USC 3729; False claims upon the Unitec| States and $tate of Ca|ii"ornia

1

Vll.NATURE 0F SUIT (Place an X |n one box on|y).

        
     

 

 

 

 

 

 

 

  
 
 

   

  

  
  

  

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UNITED STATES DlSTRlCT COURT, CENTRAL DISTRlCT OF CAL|FORN|A
CIVIL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division of the Courtto which this case will be initially assignedl This initial assignment ls subject
to change, in accordance with the Court's General Or‘dersI upon review by the Court of your Compialnt or Notice of Remova|.

QHE$TION A: Was this case removed '
from state court?

 

 

 

 

 

|___] Yes |Z] No .
ij i.os Ange|es, Ventura, Santa Barbara. orSan Luls Oblspo Westem
if 'no, " stop m Question B. if “yes," checkthe
boxtu the right that applies, enter the ij omnge $Ouihsm
pottle division in re to
$;es:‘°n E' bg‘owl and mntl?::;e°m them [:] Riverside or San Bemardino Eastern

  
  

   
   
     

 

 

 

quEsTl°N 3' is ina u'n“d 5'““' °i' 5‘1' D° 5°% °' m°"° °"ne defendants Wn° reside in ¥ES. Your case w||i inltla&y be assigned to the Southem Dlvislon.
°|'l€ 0"¢! l§€hd¢i °l‘ employ“$ l the casing 'e"d° in O'ange c°'? |Z| Enter 'Soutitem" ln response to Ouestion E, below, and continue
PLA| F n this action? ' f th re.
mm l checkoneorrh¢ boxemmerrghr -} '°'" °
Y'” n N° ij No. cunnnueto ouesuon s.2.

r_ ..r

5‘2' D° 5°% °' m°"e °f ina defendants wn° mine in YES Y ur o |ii initial be assl ed to the Eastem Division.
" 'm‘ ' sup to Qu°sn°n C‘ 'f "yes" answer the d"tnct mine 'n mm'd° and/or san B°m“dln° m £nter '(l;astecar;"i: responsbe to Que?stt‘|on E, bdow, and continue
Q\l!iii°l\ 5-1. if fight Count|es? lConslder the two counties together.) hom them

check one ofthe boxes to the right NO. Your case will initially be assigned to the Westem Dlvlsion.

' ", [:| Enier 'Westem' in response to Quest|on E, below, and continue

 
 
 

from there.

 
  
 
 

    

mus" c: ls the Un“‘d 5¢“‘5' °" ¥ES. Your case will initially be assigned to the Southem D|vision.

 

 

 

 

one of its agondes or employees, n district reside in °"‘"9‘-' C°~i' [] Enter 'Sourhem" ln response to Question E. below, and continue
DEFENDAN'|‘ in this action? l om th .

check me ofth boxes to lite right 6 f ere

m yes E N° |:] NO. Continue to Question C.Z.
' C¢z, 06509`6 or more of the plaintiffs who reside in the yES_ your ms w'm l~ m l he wl ` -ed to ma astern woman

lf ‘m). " Skip to Questl°n D. lf'ye,,~ answer drsrrrcr resideln 1111/ennis and/orsan aemardlno g Eme, .Eamm§ m ,e;'po;; m Q,_,e§t",o,, 5 helm and annum
Question C.l, at lighi- Counties? (Cons|der the two counties togethor.l from them

check one ofthe-boxes to ins right _* NO. Your case will initially be assigned to the Wostorn Dlvls|on.

|] F.nter "Western" in response to Quatlon E, below, and continue
from there.

   

 

   
 
 

 

 

 

 

indicate the |ocatlon(s) in which 50% or more of plaintiii’s who reside In this district
reside. (Check up to two boxes, or leave blank if~' none of th ese choices apply.)

indicate the location(s) in whld1 50% or more of defendants who reside in this
district resido. (Check up to two boxes, or leave blank if none of these choices

 
   

 

 
   
  
 

_.~..w» v ~___.

D.2. is there at least one answer in Column B?

   

   

D.‘l . is there at least one answer in Column A?

       
  
  
  
   
 
 

-Yes [____lNo [:]Yes [:|No
if 'yes," your case will initially be assigned to the ii "yes.' your case will initially be assigned to the
SOUTHERN DlVlSiDN. EASTERN DlVlS|ON.

Enter 'Eastern‘ in response toQuesiion E, below.
if'no,' your case will be assigned to the WESTERN DMSiGN.
Enter 'Westem’ in response to Questlon E, below. t

Enter 'Southern" in response to Question E, 'below, and continue from there.
ii "no,' go to question 02 to the right 6

 

   
 

 

  
    
 

§§
Enter the initial division determined by Questlon A. B, C, or D above _}

  

SOUTHERN

   

Do 50% or more of'pla|ntlffs or defendants ln this district reside in Ventura, Santa Barbara, or San Luls Ob|spo counties? [:] Yes
CV-71 107I16l ClVll. COVER SHEET Page 2 013

 
 

 

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______,-.__._

UNlTED STATES DlSTRlCT COURT, CENTRAL DiSTRlCT OF CALIFCRNIA
ClVlL COVER SHEET

lX(a). lDENTiCAL CASES: Has this action been previously filed in this court? NG |:l YES

if yes, list case number(s):

 

lX(b). RELATED CASES: ls this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
NO [:| res

lfyes, list case numberis):

 

Clvll cases are related when they (checkall that apply):
|:] A. Arlse from the same ora closely related transactionl happenlng, or event;
m B. Call for determination of the same or substantially related or similar questions of law and facti or
[:| C. For other reasons would entail substantial duplication of labor if heard by different judges.

Nota: 'lhat cases may involve the same patent, trademark or copyright is not, in itself, sufliclent to deem cases related

A civil forfeiture case and a criminal case are related when they lchecl< all that apply):
[°_"| A Arise from the same or a closely related transaction, happening, or event;
|:] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges

 

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Notlce to CounsollParties: The submission of this Crvi| Cover Sheat is required by l.ocal Ru|e 3-1. Thls Form CV-7I and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions see separate instruction sheet (CV~071A).

 

 

 

Keyto Statlstlca| codes relating to Soclai Securlty Cases:

Nature of Suit Coda Abbraviai:lrm Substantlve Staoament of ¢.'ause ofActlon
A|l claims for health lnsurancebeneiits (Medlcare) under'l”itle 18. Part A,`of the $oclai Secul‘it Act,.as amended illsoJ
351 inn include claims bg hospitals, skilled nursing facilities. eth for certification as proulders of serv ces underthe program `
(42 U.S.C. 1935F (b))
852 BL g£l£iaims for “ii|ack Lung' benefits under Tllie 49 Parc B, of the Federal Coal Mlne Health and Safety Act of l 969. {30 U.S.C._

Al| claims filed by insured workers for disability insurance beneiits under Tltle 2 of the Social Securlty iict, as amended.' plus

353 D“”C an claims maurer childs insurance beneoubasad on disability (42 us.c. 405 tg»
863 D|ww All claims filed for widows or wldowars insurance benefits based on disability under Tltle 2 of the Socia| Security Act, as
amended (42 U.S.C. 405 (g))
A|l claims for supplemental security income payments based upon disability filed underTltie 16 of the Soclal SecuntyAct, as
854 SSID amended_
865 RSl All claims for retirement told agai and survivors benents under litle 2 of the Soclal Security Act, as amended
(42 U.S.C. 405 (g))

 

C'l-?‘l (07/13) CN|L COVER SHEE|' Paga 3 013

 

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